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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

JONATHAN LANGLEY,                §              No. 1:18–CV–443–DAE
                                 §
     Plaintiff,                  §
                                 §
vs.                              §
                                 §
INTERNATIONAL BUSINESS           §
MACHINES CORPORATION,            §
                                 §
     Defendant.                  §
________________________________ §

ORDER: (1) ADOPTING REPORT AND RECOMMENDATION, (2) DENYING
MOTION FOR SUMMARY JUDGMENT; AND (3) DENYING MOTION FOR
       LEAVE TO PROVIDE NEWLY DISCOVERED EVIDENCE

             Before the Court are: (1) a Report and Recommendation

(“Recommendation”) filed by U.S. Magistrate Judge Andrew W. Austin (Dkt.

# 201); and (2) Plaintiff Jonathan Langley’s (“Plaintiff” or “Langley”) Opposed

Motion for Leave to Provide Newly Discovered Summary Judgment Evidence

(Dkt. # 211). On August 30, 2019, the Court1 referred this case for all pretrial

matters to Judge Austin. (Dkt. # 174.) On December 23, 2019, Judge Austin

issued his Recommendation on Defendant International Business Machine

Corporation’s (“IBM”) Motion for Summary Judgment (Dkt. # 126). (Dkt. # 201).



1
 This case was transferred from the docket of the Honorable Lee Yeakel to this
Court on October 23, 2019. (Dkt. # 199.)
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On January 10, 2020, IBM filed objections (Dkt. # 206), Langley filed a response

on January 31, 2020 (Dkt. # 210), and IBM filed a reply on February 14, 2020.

(Dkt. # 215).

            After careful consideration, and for the reasons given below, the Court

ADOPTS Judge Austin’s Recommendation (Dkt. # 210), DENIES IBM’s Motion

for Summary Judgment (Dkt. # 126), and DENIES Langley’s Motion for Leave to

Provide Newly Discovered Evidence (Dkt. # 211).

                                 BACKGROUND

            The Court states the facts in this case as recited by Judge Austin.2

(See Dkt. # 201.) This is an age discrimination case in which Langley sues his

former employer IBM for age discrimination under the Age Discrimination in

Employment Act (“ADEA”) and the Texas Labor Code. Langley was 59 years old

when, in 2017, IBM terminated him after 24 years of employment. At the time of

his termination, Langley was employed in sales in IBM’s Hybrid Cloud business

unit. Langley asserts he was laid off because of IBM’s focus on hiring younger

employees, while simultaneously laying off older workers in so-called “Resource

Actions” (IBM lingo for a reduction-in-force). He claims that in its Resource

Actions, IBM applied subjective criteria to screen out older workers and did so in



2
  To the extent IBM objects to any of Judge Austin’s recitation of the background
facts, they are addressed below in the objections.
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its selection of him as one of the employees to be laid off in the Resource Action

that led to his termination. IBM responds that its decision to terminate Langley

was made as part of a reduction-in-force (“RIF”), and it used age-neutral criteria to

identify him for inclusion in the RIF.

             On July 16, 2019, IBM filed a motion for summary judgment on all of

Langley’s claims. (Dkt. # 126.) Judge Austin issued his Recommendation on

IBM’s motion on December 23, 2019. (Dkt. # 201.) Objections to the

Recommendation were due within 14 days after being served with a copy. After

the parties were granted extensions to file objections and responses, on January 10,

2020, IBM timely filed objections to the Recommendation. (Dkt. # 206.) Langley

filed a response in opposition to the objections on January 31, 2020. (Dkt. # 210.)

On February 14, 2020, IBM filed a reply in support of its objections. (Dkt. # 215.)

             On January 31, 2020, Langley filed an Opposed Contingent Motion

for Leave to Provide Newly Discovered Summary Judgment Evidence. (Dkt.

# 211.) On February 7, 2020, IBM filed a response in opposition to this motion.

(Dkt. # 213.) On February 14, 2020, Langley filed a reply in support of the

motion. (Dkt. # 214.)




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                              LEGAL STANDARD

      A.     Review of Report and Recommendation

             The Court must conduct a de novo review of any of the Magistrate

Judge’s conclusions to which a party has specifically objected. See 28 U.S.C.

§ 636(b)(1)(C) (“A judge of the court shall make a de novo determination of those

portions of the report or specified proposed findings or recommendations to which

objection is made.”). The objections must specifically identify those findings or

recommendations that the party wishes to have the district court consider.

Thomas v. Arn, 474 U.S. 140, 151 (1985). A district court need not consider

“[f]rivolous, conclusive, or general objections.” Battle v. U.S. Parole Comm’n,

834 F.2d 419, 421 (5th Cir. 1987). “A judge of the court may accept, reject, or

modify, in whole or in part, the findings or recommendations made by the

magistrate judge.” 28 U.S.C. § 636(b)(1)(C).

             Findings to which no specific objections are made do not require de

novo review; the Court need only determine whether the Recommendation is

clearly erroneous or contrary to law. United States v. Wilson, 864 F.2d 1219, 1221

(5th Cir. 1989).




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      B.     Summary Judgment

             “Summary judgment is appropriate only if ‘there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.’”

Vann v. City of Southaven, 884 F.3d 307, 309 (5th Cir. 2018) (citations omitted);

see also Fed. R. Civ. P. 56(a). “A genuine dispute of material fact exists when the

‘evidence is such that a reasonable jury could return a verdict for the nonmoving

party.’” Bennett v. Hartford Ins. Co. of Midwest, 890 F.3d 597, 604 (5th Cir.

2018) (quoting Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986)). “The

moving party ‘bears the initial responsibility of informing the district court of the

basis for its motion, and identifying those portions of [the record] which it believes

demonstrate the absence of a genuine issue of material fact.’” Nola Spice Designs,

LLC v. Haydel Enter., Inc., 783 F.3d 527, 536 (5th Cir. 2015) (quoting Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

             “Where the non-movant bears the burden of proof at trial, ‘the movant

may merely point to the absence of evidence and thereby shift to the non-movant

the burden of demonstrating . . . that there is an issue of material fact warranting

trial.’” Kim v. Hospira, Inc., 709 F. App’x 287, 288 (5th Cir. 2018) (quoting Nola

Spice Designs, 783 F.3d at 536). While the movant must demonstrate the absence

of a genuine issue of material fact, it does not need to negate the elements of the

nonmovant’s case. Austin v. Kroger Tex., L.P., 864 F.3d 326, 335 (5th Cir. 2017)

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(quoting Little v. Liquid Air Corp., 37 F.3d 1069, 1076 n.16 (5th Cir. 1994)).

A fact is material if it “might affect the outcome of the suit.” Thomas v. Tregre,

913 F.3d 458, 462 (5th Cir. 2019) (citing Anderson, 477 U.S. at 248).

             “When the moving party has met its Rule 56(c) burden, the

nonmoving party cannot survive a summary judgment motion by resting on the

mere allegations of its pleadings.” Jones v. Anderson, 721 F. App’x 333, 335 (5th

Cir. 2018) (quoting Duffie v. United States, 600 F.3d 362, 371 (5th Cir. 2010)).

The nonmovant must identify specific evidence in the record and articulate how

that evidence supports that party’s claim. Infante v. Law Office of Joseph

Onwuteaka, P.C., 735 F. App’x 839, 843 (5th Cir. 2018) (quoting Willis v. Cleco

Corp., 749 F.3d 314, 317 (5th Cir. 2014)). “This burden will not be satisfied by

‘some metaphysical doubt as to the material facts, by conclusory allegations, by

unsubstantiated assertions, or by only a scintilla of evidence.’” McCarty v.

Hillstone Rest. Grp., Inc., 864 F.3d 354, 357 (5th Cir. 2017) (quoting Boudreaux v.

Swift Transp. Co., 402 F.3d 536, 540 (5th Cir. 2005)). In deciding a summary

judgment motion, the court draws all reasonable inferences in the light most

favorable to the nonmoving party. Wease v. Ocwen Loan Servicing, LLC,

915 F.3d 987, 992 (5th Cir. 2019).




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               Additionally, at the summary judgment stage, evidence need not be

authenticated or otherwise presented in an admissible form. See Fed. R. Civ. P.

56(c); Lee v. Offshore Logistical & Transp., LLC, 859 F.3d 353, 355 (5th Cir.

2017). However, “[u]nsubstantiated assertions, improbable inferences, and

unsupported speculation are not sufficient to defeat a motion for summary

judgment.” United States v. Renda Marine, Inc., 667 F.3d 651, 655 (5th Cir. 2012)

(quoting Brown v. City of Hous., 337 F.3d 539, 541 (5th Cir. 2003)).

                                     ANALYSIS

               In his Recommendation, Judge Austin first found that Langley had

made out a prima facie case of age discrimination because (1) Langley is over the

age of 40 and thus in the class protected by the ADEA; (2) he was adversely

affected when he was terminated by the challenged decision; (3) he was qualified

to assume another position when he was terminated; and (4) there is evidence from

which a factfinder could conclude that IBM intended to discriminate against older

workers in making decisions regarding layoffs and internal transfers. (Dkt. # 201

at 10.)

               Judge Austin next determined that IBM had proffered a legitimate,

nondiscriminatory reason for its layoff decisions—Langley was chosen for

termination because his group’s leadership determined a reduction in force was

necessary to reduce costs and improve financial performance. (Dkt. # 201 at 10.)

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Specifically, IBM proffered that (1) it was phasing out “PureApp,” the product

Langley’s team supported, and thus two of the four members of that team needed

to be terminated; and (2) in deciding which employees of the team to terminate,

Langley was chosen after IBM conducted a subjective evaluation. (Id. at 10–11.)

             Judge Austin next found that there were genuine issues of material

fact as to whether IBM’s proffered reasons for Langley’s termination were a

pretext for retaliation. (Dkt. # 201 at 11–12.) Among others, Judge Austin

determined that whether PureApp was indeed being phased out was a disputed fact.

(Id. at 12.) Thus, Judge Austin found that there are fact issues as to whether IBM’s

purported economic reason for Langley’s termination was a pretext for retaliation.

Additionally, Judge Austin decided that there were issues of fact as to whether

Langley was terminated based on his performance because, among other reasons,

Langley was a strong performer, receiving the largest bonus in his group in the

quarter before his layoff. (Id. at 13.)

             IBM objects to Judge Austin’s determination that factual issues exist

in both the prima facie and pretextual analyses. (Dkt. # 128.) Each Objection is

addressed below.




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      A.     Objections to Prima Facie Case

             IBM objects to Judge Austin’s findings that there is an issue of fact as

to whether Langley has established a prima facie case of age discrimination. (Dkt.

# 206 at 10.) Specifically, IBM objects that Judge Austin erred in: (1) finding a

factual issue regarding whether any age-biased actor influenced Langley’s

termination; (2) concluding that HR’s discriminatory actions relating to

redeployment resulted in Langley’s termination; and (3) concluding that issues of

fact exist as to the decision-makers or the timing of Langley’s termination

decision. (Dkt. # 206 at 10–16.)

             To establish a prima facie case of age discrimination using the

reduction-in-force paradigm,3 a plaintiff must demonstrate “(1) that he is within the

protected age group; (2) that he has been adversely affected by the employer’s

decision; (3) that he was qualified to assume another position at the time of the

discharge; and (4) evidence, circumstantial or direct, from which a factfinder might

reasonably conclude that the employer intended to discriminate in reaching the

decision at issue.” McMichael v. Transocean Offshore Deepwater Drilling, Inc.,

934 F.3d 447, 456 n.4 (5th Cir. 2019) (quotation marks and citation omitted).




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 Both parties use this analysis in their briefing and the Court agrees it is proper to
use here.
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               Again, IBM does not dispute the first three elements. Instead, IBM

contends that Langley has failed to establish the fourth prong—whether it treated

Langley’s age neutral in its RIF. (Dkt. # 206 at 10.) IBM argues that the

Recommendation erroneously applied a “cat’s paw” theory in concluding that

IBM’s HR team, through direction from high-ranking executives, were the de-facto

decision-makers in Langley’s termination. (Id. at 11.) IBM also maintains that a

company’s focus on entry-level hiring does not give rise to age discrimination. (Id.

at 12.)

               Additionally, IBM asserts that, contrary to Judge Austin’s

conclusions, there is no evidence that any supervisor wanted to hire Langley and

had room for him after he was identified for RIF, but that IBM’s HR prevented that

supervisor from hiring him. (Id. at 14.) Instead, according to IBM, the evidence

demonstrates that there were no available positions and there is no evidence that

younger employees were hired or transferred into these positions. (Id.) IBM also

objects to several documents Judge Austin used in support of his findings, noting

that the record reflects that nine other employees selected for layoff in the same

resource action as Langley successfully found other positions despite the fact that

four employees were over 50 and two were over 60. (Dkt. # 206 at 15.)

               IBM also objects on the basis that the Recommendation adopted

Langley’s speculation that anyone other than Overbay, Langley’s immediate

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supervisor, made the decision to terminate Langley, let alone anyone with an age

bias. (Dkt. # 206 at 16.) IBM contends that the evidence used by Judge Austin in

support of this conclusion was taken out of context. (Id. at 17.)

             Despite IBM’s objections to the Recommendation, the Court, after

conducting a de novo review of the evidence and the record, finds there is a factual

dispute regarding the fourth element of Langley’s prima facie case. For instance,

internal IBM corporate planning documents give rise to a factual dispute as to

whether IBM executives sought to lay off older workers in an effort to hire a

younger workforce. (See, e.g., Dkt. #151-7 at 11, 13, 17; Dkt. # 151-14 at 2; Dkt.

# 151-27; Dkt. # 151-13; Dkt. # 151-11 at 7, 19; Dkt. # 126-12 at 3.) Given these

internal guidance documents, while IBM disputes that its corporate executives had

any role in Langley’s termination, there is support in the record for applying a cat’s

paw theory of liability. See Roberson v. Alltel Info. Servs., 373 F.3d 647, 653 (5th

Cir. 2004) (“If the employee can demonstrate that others had influence or leverage

over the official decisionmaker, and thus were not ordinary co-workers, it is proper

to impute their discriminatory attitudes to the formal decisionmaker.” (quoting

Russell v. McKinney Hosp. Venture, 235 F.3d 219, 225 (5th Cir. 2000)). To

invoke the cat’s paw analysis, Langley must submit evidence sufficient to establish

two conditions: (1) that a co-worker exhibited discriminatory animus, and (2) that

the same co-worker “possessed leverage, or exerted influence, over the titular

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decisionmaker.” Id.; see also Laxton v. Gap Inc., 333 F.3d 572, 583 (5th Cir.

2003). In this case, the evidence creates a factual issue as to whether Overbay was

in fact effectively told whom to lay off, as well as whether her and her supervisors’

attempts to place Langley in different positions were overruled by HR and IBM

executives. The abundant public and internal statements of IBM’s CEO and CFO

in promoting the company’s need to “refresh” its workforce creates a factual issue

as to whether Overbay’s supervisors were following company directives when

directing their own subordinates where to cut costs in the RIF.

             Furthermore, there are genuine issues of material fact regarding

whether IBM refused to relocate Langley to a different position or even to retain

his employment. For instance, there is evidence which indicates that IBM had

policies requiring its managers to “meet headcount” quotas which favored the

hiring of younger workers, and that Overbay knew of Langley’s selection for

termination prior to the date given in her declaration. (See, e.g., Dkt. # 151-4 at 1–

2; Dkt. # 154-4 at 4; Dkt. # 151-28.) Additionally, there is evidence which

indicates that Langley applied for other positions within IBM, but that HR blocked

his hiring or that IBM policy required an external hire or high-level executive

approval was required. (See, e.g., Dkt. # 151-4 at 4–5, 8, 12–13, 16, 28.)




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             Given the above evidence, the Court finds genuine issues of material

fact exist as to the fourth element of Langley’s prima facie case of age

discrimination, and the Court will thus overrule IBM’s objections on this basis.

      B.     Objections to Pretext

             IBM also objects to Judge Austin’s finding that there is an issue of

fact as to pretext. (Dkt. # 206 at 18.) IBM argues that the Recommendation

misstates IBM’s articulated reason for reducing the number of PureApp sales

leads. (Id.) IBM also contends that its 2019 decision to re-package PureApp as

part of a Cloud Pak does not establish pretext. (Id. at 19.) Finally, IBM maintains

that the Recommendation misstates the process and rationale for selecting Langley

for termination. (Id. at 21.)

             Under McDonnell Douglas, Langley must raise a genuine issue of

material fact as to whether IBM’s proffered reasons for his termination were not

the true reasons but were merely pretext for discrimination. Reeves v. Sanderson

Plumbing Prods., Inc., 530 U.S. 133, 143 (2000). To establish pretext, the

presented evidence must allow a reasonable jury to find that the proffered reason is

“false or unworthy of credence,” and that the true reason is discrimination.

Vaughn v. Woodforest Bank, 665 F.3d 632, 637 (5th Cir. 2011); Laxton v. Gap

Inc., 333 F.3d 572, 579 (5th Cir. 2003). “The factfinder’s disbelief of the reasons

put forward by the defendant (particularly if disbelief is accompanied by a

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suspicion of mendacity) may, together with the elements of the prima facie case,

suffice to show intentional discrimination.” Reeves, 530 U.S. at 147; see also

Laxton, 333 F.3d at 579. However, this disbelief must be supported by some

evidence. The employee’s subjective belief of discrimination is insufficient; the

plaintiff must produce “substantial evidence of pretext.” Auguster v. Vermilion

Parish Sch. Bd., 249 F.3d 400, 402–03 (5th Cir. 2001). “In appropriate

circumstances, the trier of fact can reasonably infer from the falsity of the

explanation that the employer is dissembling to cover up a discriminatory

purpose.” Reeves, 530 U.S. at 147. Thus, when coupled with the prima facie case,

a reasonable jury may infer intentional discrimination based on falsities or

inconsistencies in the employer’s explanation. Id.

             Given the above, the Court must determine whether IBM’s proffered

reason for Langley’s termination—an economically-motivated RIF and the failure

of the PureApp division—were not the true reasons but were pretext for age

discrimination. Upon conducting a de novo review of the record in this case, the

Court finds there are genuine issues of material fact regarding whether IBM’s

stated reasons are pretext for discrimination. Among others, Langley has presented

evidence which suggests that Overbay was not the true decision-maker in

Langley’s termination. Langley’s evidence indicates that despite Overbay’s

declaration that she was not aware of the proposed layoff until February 2017,

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Langley was told by Overbay’s supervisor Andrew Brown at least two months

before that date that he would lose his job in the near future as he did not “see a fit”

for Langley. (See Dkt. # 151-4 at 2.) Additionally, one month prior to Overbay’s

proposed notification date, on January 19, 2017, Langley’s name appeared on an

HR planning document wherein he was designated for layoff. (Dkt. # 151-25.)

This evidence suggests that later that month Langley had already been counted as a

reduction prior to Overbay’s stated February 2017 date and that she was not the

true decision-maker for Langley’s termination.

             Langley has also produced evidence which indicates that while

Overbay was generally satisfied with Langley’s work, including giving him higher

ratings in his review and awarding him the largest bonus in his unit, Overbay’s

attempts at getting Langley transferred to a different department were blocked by

IBM’s HR department. (See Dkt. # 151-25 at 2; Dkt. # 151-32; Dkt. # 151-3; Dkt.

# 151-4 at 4, 12, 28.) Overbay herself recognized that HR’s process in prohibiting

Langley’s transfer to a different department was difficult and that “we are not

making this easy” and that the “process seems to change and become more

difficult.” (Dkt. # 151-4 at 4, 16.)

             Furthermore, there is disputed evidence on the issue of whether

PureApp is now packaged as Cloud Pak. For instance, IBM contends that PureApp

sales have continued on a limited basis and only to preexisting customers, and that

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the company curtailed investments in the product and no longer employs any

dedicated PureApp sellers on account of low sales. However, Langley has

presented some evidence which suggests that Cloud Pak products are sold that are

identical to PureApp products. (Compare Dkt. # 151-33 at 3, with Dkt. # 151-30.)

            Given this evidence of record, the Court finds that Langley has met

his burden of raising a genuine issue of material fact as to whether IBM’s proffered

reasons for his termination were not true but were merely pretext for age

discrimination. Accordingly, the Court will overrule IBM’s objections.

Additionally, given that Langley has demonstrated a prima facie case of age

discrimination and made a sufficient showing of pretext, the Court will deny

IBM’s motion for summary judgment (Dkt. # 126). For this reason, the Court will

deny Langley’s contingent motion for leave to provide newly discovered summary

judgment evidence (Dkt. # 211).

                                  CONCLUSION

            Having reviewed the Magistrate Judge’s findings and conclusions and

finding no errors, the Court will accept and adopt the Report and Recommendation

for the reasons stated therein. Thus, the Court ADOPTS the Magistrate Judge’s

Report and Recommendation (Dkt. # 201) as the opinion of this Court, DENIES

IBM’S Motion for Summary Judgment (Dkt. # 126), and DENIES Langley’s




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Contingent Motion for Leave to Provide Newly Discovered Summary Judgment

Evidence (Dkts. # 211). Trial in this case will be set by separate order.

             IT IS SO ORDERED.

             DATED: Austin, Texas, February 28, 2020.




                                        ______________________________________
                                        David Alan Ezra
                                        Senior United States District Judge




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